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                   IN THE DISTRICT COURT OF THE UNITED STATES
                       FOR THE DISTRICT OF SOUTH CAROLINA
                               GREENWOOD DMSION


 UNITED STATES OF AMERICA                              Criminal No.: 8:19-00181-DCC

                        V.
                                                                    PLEA AGREEMENT
 LAUREN BROOKE POORE

                                       General Provisions


       This PLEA AGREEMENT is made this            d<o ...i"   day of   A., )\J st , 2019, between the
United States of America, as represented by United States Attorney SHERRI A. LYDON,

Assistant United States Attorney Leesa Washington; the Defendant, LAUREN BROOKE POORE,

and Defendant's attorney, Joseph J. Watson, Esquire.

       IN CONSIDERATION of the mutual promises made herein, the parties agree as follows:

I. The Defendant agrees to plead guilty to Count 29 of the Superseding Indictment, which charges

   that beginning at a time unknown to the grand jury, but beginning at least as early as 2016, and

   continuing up to and including the date of this Superseding Indictment, in the District of South

   Carolina and elsewhere, the Defendants, DETRIC LEE MCGOWAN, a/k/a "Fat", LAUREN

   BROOK POORE and VALENCIA DANIELLE SUBER, knowingly and willfully did

   combine, conspire, agree and have tacit understanding with others, both known and unknown

   to the grand jury, to conduct and attempt to conduct financial transactions affecting interstate

   and foreign commerce, which in fact involved the proceeds of a specified unlawful activity,

   that is drug trafficking in violation ofTitle 21, United States Code, Sections 841(a)(l) and 846;

   in violation of Title 18, United States Code, Sections 1956(a)(l)(A)(i); 1956(a)(l)(B)(i);

   1956(a)(l)(B)(ii); 1957 and 1956(h).



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2.     In order to sustain its burden of proof, the Government is required to prove the following:

                                            Count29

       A.      An agreement to commit money laundering, as alleged in the indictment, existed
               between one or more persons; and

       B.      the defendant knowingly and voluntarily joined in the agreement with the intent to
               further its unlawful purpose.

       Possible Penalties: a maximum term of imprisonment of not more than 20 years and/or
       a fine of not more than $500,000 or twice the value of the property involved in the
       transaction, whichever is greater and a term of supervised release of not more than
       three (3) years, plus a special ass~ssment of $100.

3.     The Defendant understands and agrees that monetary penalties [i.e., special assessments,

       restitution, fines and other payments required under the sentence] imposed by the Court

       are due and payable immediately and subject to enforcement by the United States as civil

       judgments, pursuant to 18 USC § 3613. In the event the Court imposes a schedule for

       payment of restitution, the Defendant also understands that payments made in accordance

       with installment schedules set by the Court are minimum payments only and do not

       preclude the government from seeking to enforce the judgment against other assets of the

       Defendant at any time, as provided in 18 USC§§ 3612, 3613 and 3664(m). The Defendant

       further agrees to enter into the Bureau of Prisons Inmate Financial Repayment Program if

       sentenced to a term of incarceration with an unsatisfied monetary penalty. The Defendant

       further understands that any monetary penalty imposed is not dischargeable in bankruptcy.

               A.     Special Assessment: Pursuant to 18 U.S.C. §3013, the Defendant must pay
                      a special assessment of $100.00 for each felony count for which he is
                      convicted. This special assessment must be paid at or before the time of the
                      guilty plea hearing or during participation in the Bureau of Prisons Inmate
                      Financial Repayment Program if this plea results in incarceration.

               B.    Restitution: The Defendant agrees to make full restitution under 18 U.S.C.
                     § 3556 in an amount to be determined by the Court at the time of sentencing,
                     which amount is not limited to the count(s) to which the Defendant pled
                     guilty, but will include restitution to each and every identifiable victim who

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                       may have been harmed by his scheme or pattern of criminal activity,
                       pursuant to 18 U.S.C. § 3663. The Defendant agrees to cooperate fully with
                       the Government in identifying all victims. Upon demand, the Defendant
                       shall submit a personal financial statement under oath and submit to
                       interviews by the government and the U.S. Probation Office regarding the
                       Defendant's capacjty to satisfy any fines or restitution. The Defendant
                       expressly authorizes the U.S. Attorney's Office to immediately obtain a
                       credit report on the Defendant in order to evaluate the Defendant's ability to
                       satisfy any financial obligation imposed by the Court. The Defendant
                       understands that the Defendant has a continuing obligation to pay in full as
                       soon as possible any fmancial obligation imposed by the Court.

               C.      Fines: The Defendant understands that the Court may impose a fine
                       pursuant to 18 U.S.C. §§ 3571 and 3572.

4.     Provided the Defendant complies with all the terms of this Agreement, the United States

       agrees to move to dismiss the remaining counts of the Indictment [and any other

       indictments under this number] at sentencing. The Defendant 'understands that the Court

       may consider these dismissed counts as relevant conduct pursuant to §1B1.3 of the United

       States Sentencing Guidelines.

5.     The Defendant understands that the obligations of the Government within the Plea

       Agreement are expressly contingent upon the Defendant's abiding by federal and state laws

       and complying with any bond executed in this case. In the event that the Defendant fails

       to comply with any of the provisions of this Agreement, either express or implied, the

       Government will have the right, at its sole election, to void all of its obligations under this

       Agreement and the Defendant will not have any right to withdraw his/her plea of guilty to

       the offense(s) enumerated herein.

                                  Cooperation and Forfeiture

6.     The Defendant agrees to be fully truthful and forthright with federal, state and local law

       enforcement agencies by providing full, complete and truthful information about all

       criminal activities about which he has knowledge. The Defendant must provide full,

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       complete and truthful debriefings about these unlawful activities and must fully disclose

       and provide truthful information to the Government including any books, papers, or

       documents or any other items of evidentiary value to the investigation. The Defendant

       must also testify fully and truthfully before any grand juries and at any trials or other

       proceedings if called upon to do so by the Government, subject to prosecution for perjury

       for not testifying truthfully. The failure of the Defendant to be fully truthful and forthright

       at any stage will, at the sole election of the Government, cause the obligations of the

       Government within this Agreement to become null and void. Further, it is expressly agreed

       that if the obligations of the Government within this Agreement become null and void due

       to the lack of truthfulness on the part of the Defendant, the Defendant understands that:

               A.     the Defendant will not be permitted to withdraw his/her plea of guilty to the
                      offenses described above;

               B.     all additional charges known to the Government may be filed in the
                      appropriate district;

               C.     the Government will argue for a maximum sentence for the offense to which
                      the Defendant has pleaded guilty; and

               D.     the Government will use any and all information and testimony provided by
                      the Defendant pursuant to this Agreement, or any prior proffer agreements,
                      in the prosecution of the Defendant of all charges.

7.     The Defendant agrees to submit to such polygraph examinations as may be requested by

       the Government and agrees that any such examinations shall be performed by a polygraph

       examiner selected by the Government. Defendant further agrees that his/her refusal to take

       or his/her failure to pass any such polygraph examination to the Government's satisfaction

       will result, at the Government's sole discretion, in the obligations of the Governmentwithm

       the Agreement becoming null and void.




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8.      The Government agrees that any self-incriminating information provided by the Defendant

        as a result of the cooperation required by the terms of this Agreement, although available

        to the Court, will not be used against the Defendant in determining the Defendant's

        applicable guideline range for sentencing pursuant to the U.S. Sentencing Commission

        Guidelines. The provisions of this paragraph shall not be applied to restrict any such

        information:

                A.     known to the Government prior to the date of this Agreement;

                B.     concerning the existence of prior convictions and sentences;

                C.     in a prosecution for perjury or giving a false statement;

                D.     in the event the Defendant breaches any of the terms of the Plea Agreement;
                       or

                E.     used to rebut any evidence or arguments offered by or on behalf of the
                       Defendant (including arguments made or issues raised sua sponte by the
                       District Court) at any state of the criminal prosecution (including bail, trial,
                       and sentencing).

9.      Provided the Defendant cooperates pursuant to the provisions of this Plea Agreement, and

        that cooperation is deemed by the Government as providing substantial assistance in the

        investigation or prosecution of another person, the Government agrees to move the Court

        for a downward departure or reduction of sentence pursuant to United States Sentencing

        Guidelines §5Kl.1, Title 18, United States Code,§ 3553(e) m: Federal Rule of Criminal

        Procedure 35(b). Any such motion by the Government is not binding upon the Court, and

        should the Court deny the motion, the Defendant will have no right to withdraw his/her

        plea.

10.     The Defendant agrees to voluntarily surrender to, and not to contest the forfeiture of any

        and all assets and property, or portions thereof, which are subject to forfeiture pursuant to



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       any provision of law, including but not limited to, property in the possession or control of

       the Defendant or Defendant's nominees. Specifically, the Defendant agrees to voluntarily

       surrender, and not contest the forfeiture of property identified in the Indictment, and any

       forfeiture Bill of Particulars. With regard to each and every asset listed in the Indictment

       or seized in a related investigation or administrative, state, or local action, the Defendant

       stipulates and agrees:

          The Defendant agrees and consents to the forfeiture of these assets pursuant to any
          federal criminal, civil judicial or administrative forfeiture action. The Defendant also
          hereby agrees to waive all constitutional, statutory and procedural challenges in any
          manner (including direct appeal, habeas corpus, or any other means) to any forfeiture
          carried out in accordance with this Plea Agreement on any grounds, including that the
          forfeiture described herein constitutes an excessive fine, was not properly noticed in
          the charging instrument, addressed by the Court at the time of the guilty plea,
          announced at sentencing, or incorporated into the judgment.

          To its forfeiture herein, if necessary as substitute property under 21 U.S.C. § 853(p), as
          made applicable by 18 U.S.C. § 982(b)(l) or any other statute, or in a separate
          administrative or civil judicial proceeding.

          That the Defendant has or had a possessory interest or other legal interest in each item
          or property.

          To assist the United States in the recovery of all assets by (i) taking whatever steps are
          necessary or requested by the United States to pass clear title to the United States; (ii)
          preventing the disbursement of any moneys and sale of any property or assets; (iii) not
          encumbering or transferring any real estate after the Defendant's signing of this Plea
          Agreement; and (iv) directing all financial institutions to turn over and surrender to the
          United States all funds and records regarding accounts listed in any document signed
          by the Defendant pursuant to this plea agreement, as criminal proceeds or substitute
          property.

          The Defendant waives all rights to notice of forfeiture under Rule 32.2 and of any other
          action or proceeding regarding such assets. The Defendant consents and waives all
          rights to compliance by the United States with any applicable deadlines under 18
          U.S.C. § 983(a). Any related administrative claim filed by the Defendant is hereby
          withdrawn.

          Pursuant to Rule 32.2(b)(4), the Defendant agrees that the preliminary order of
          forfeiture will satisfy the notice requirement and will be final as to the Defendant at the
          time it is entered. In the event the forfeiture is omitted from the judgment, the


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             Defendant agrees that the forfeiture order may be incorporated into the written
             judgment at any time pursuant to Rule 36.

             If the United States discovers that the Defendant has not fully disclosed all assets, the
             United States may seek forfeiture of any subsequently-discovered assets, and the
             Defendant agrees to the immediate forfeiture of any such assets.

             The Defendant further agrees to make a full and complete disclosure of all assets over
             which Defendant exercises control and those which are held or controlled by nominees.
             The Defendant agrees that Federal Rule of Criminal Procedure 11 and U.S.S.G. § IBI.8
             will not protect from forfeiture, assets disclosed by the Defendant as part of his/her
             cooperation. The Defendant further agrees to submit to a polygraph examination on
             the issue of assets if it is dee~ed necessary by the United States.

             The Defendant agrees to waive any double jeopardy claims the Defendant may have as
             a result of a forfeiture proceeding against any of these properties as provided for by this
             Plea Agreement and agrees to waive any claims that the forfeiture described herein
             constitutes an excessive fine.

             Forfeiture of the Defendant's assets shall not be treated as satisfaction of any fine,
             restitution, cost of imprisonment, or any other penalty the Court may impose upon the
             Defendant in addition to forfeiture. The United States may use the value of forfeited
             property for restitution, but is not required to do so.

11.     The Defendant also agrees to voluntarily transfer all right, title, interest and claim

        in the above-described property and/or assets to the United States of America.

        Furthermore, the Defepdant attests, under penalty of perjury, that the Defendant owns the

        above-described property and/or assets free of any liens and encumbrances, and that no

        other person or entity has a claim to the above-described property and/or assets.

                                   Merger and Other Provisions

12.     The Defendant and the Government stipulate and agree to the following for purposes of

        calculating the Defendant's sentence pursuant to the United States Sentencing Commission

        Guidelines:

        A.      The provisions in U.S.S.G. § 2Sl.l(a)(l) do not apply to the Defendant's case;

        B.      the value oftlie laundered funds does not exceed $550,000.00.



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       The Defendant understands that these stipulations are not binding upon the Court or the

       United States Probation Office, and that the Defendant has no right to withdraw his/her

       plea should these stipulations not be accepted. Further, the Defendant understands and

       acknowledges that these stipulations are binding on the Government only in the event that

       the Defendant complies with ALL of the terms of this Agreement and does not contest any

       of the above stipulations or any readily provable relevant conduct. The Defendant

       represents to the court that he/she has met with his attorney on a sufficient number of

       occasions and for a sufficient period of time to discuss the Defendant's case and receive

       advice; that the Defendant has been truthful with his/her attorney and related all

       information of which the Defendant is aware pertaining to the case; that the Defendant and

       his attorney have discussed possible defenses, if any, to the charges in the Indictment

       including the existence of any exculpatory or favorable evidence or witnesses, discussed

       the Defendant's right to a public trial by jury or by the Court, the right to the assistance of

      counsel throughout the proceedings, the right to call witnesses in the Defendant's behalf

      and compel their attendance at trial by subpoena, the right to confront and cross-examine

      the Government's witnesses, the Defendant's right to testify in his own behalf, or to remain

      silent and have no adverse inferences drawn from his/her silence; and that the Defendant,

      with the advice of counsel, has weighed the relative benefits of a trial by jury or by the

      Court versus a plea of guilty pursuant to this Agreement, and has entered this Agreement

      as a matter of the Defendant's free and voluntary choice, and not as a result of pressure or

      intimidation by any person.




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13.     The Defendant is aware that 18 U.S.C. § 3742 and 28 U.S.C. § 2255 afford every defendant

        certain rights to contest a conviction and/or sentence. Acknowledging those rights, the

        Defendant, in exchange for the concessions made by the Government in this Plea

        Agreement, waives the right to contest either the conviction or the sentence in any direct

        appeal or other post-conviction action, including any proceedings under 28 U.S.C. § 2255.

        This waiver does not apply to claims of ineffective assistance of counsel, prosecutorial

        misconduct, or future changes in the law that affect the defendant's sentence. This

        agreement does not affect the rights or obligations of the Government as set forth in 18

        U.S.C. § 3742(b ). Nor does it limit the Government in its comments in or responses to any

        post-sentencing matters.

14.     The Defendant waives all rights, whether asserted directly or by a representative, to request

        or receive from any department or agency of the United States any records pertaining to

        the investigation or prosecution of this case, including without limitation any records that

        may be sought under the Freedom of Information Act, 5 U.S.C. § 552, or the Privacy Act

        of 1974, 5 U.S.C. § 552a.

15.     The parties hereby agree that this Plea Agreement contains the entire agreement of the

        parties; that this Agreement supersedes all prior promises, representations and statements

        of the parties; that this Agreement shall not be binding on any party until the Defendant

        tenders a plea of guilty to the coUJ1; having jurisdiction over this matter; that this Agreement

        may be modified only in writing signed by all parties; and that any and all other promises,

        representations and statements, whether made prior to, contemporaneous with or after this

        Agreement, are null and void.




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                                             ;( ~, ren &ro'l: PaJM
       Date                                   Lauren Brooke Poore,
                                              Defendant


                1           1
       Date             '




       Datr         t                          drew B. Moorman
                                             Assistant United States Attorney




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                           U. S. DEPARTMENT OF JUSTICE
                         Statement of Special Assessment Amount

This statement reflects your special assessment only. There may be other penalties imposed
at sentencing. This Special Assessment is due and payable at the time of the execution of
the plea agreement.




                                                                  (date plea agreement signed)


MAKE CHECK OR MONEY ORDER PAYABLE TO:
CLERK, U.S. DISTRICT COURT

PAYMENT SHOULD BE SENT TO:
Clerk, U.S. District Court
Clement F. Haynsworth Federal Building and United States Courthouse
300 East Washington Street
Greenville, SC 29601

OR HAND DELIVERED TO:
Clerk's Office
Clement F. Haynsworth Federal Building and United States Courthouse
300 East Washington Street
Greenville, SC 29601 (Mon. -Fri. 8:30 a.m.-4:30 p.m.)

INCLUDE DEFENDANT'S NAME ON CHECK OR MONEY ORDER (!l_o Not send cash)

ENCLOSE THIS COUPON TO INSURE PROPER and PROMPT APPLICATION OF
PAYMENT




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